     Fill in this information Case    2:23-bk-00373-FMD
                              to identify your case:                    Doc 1        Filed 04/02/23              Page 1 of 32
     United States Bankruptcy Court for the:

     ____________________
     Middle                 District of _________________
             District of Florida        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        H2O   Investment Properties LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               999 Vanderbilt Beach Road                                _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 200
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Naples                        FL    34108
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Collier County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                              Case 2:23-bk-00373-FMD                 Doc 1         Filed 04/02/23             Page 2 of 32

                H2O Investment Properties LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5311
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Blue Moon Properties                                               Ronald Sapp Manager LLC
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Oregon
                                                   District _____________________________________________ When                 11/09/2022
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                                             22-31873-thp11
                                                   Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                           Case 2:23-bk-00373-FMD                        Doc 1         Filed 04/02/23            Page 3 of 32

              H2O Investment Properties LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                           Case 2:23-bk-00373-FMD                          Doc 1        Filed 04/02/23           Page 4 of 32

               H2O Investment Properties LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              04/02/2023
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Ronald G. Sapp
                                               _____________________________________________               Ronald G. Sapp
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Mike Dal Lago
                                               _____________________________________________              Date         04/02/2023
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Mike Dal Lago
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Dal Lago Law
                                               _________________________________________________________________________________________________
                                               Firm name
                                                999 Vanderbilt Beach Rd. Suite 200
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Naples
                                               ____________________________________________________             FL            34108
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                2395716877
                                               ____________________________________                              mike@dallagolaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                102185                                                          FL
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                                        Case 2:23-bk-00373-FMD                                             Doc 1               Filed 04/02/23                         Page 5 of 32


 Fill in this information to identify the case:

                H2O Investment Properties LLC
  Debtor name _________________________________________________________________

                                          Middle District of Florida
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        4,990,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                              500.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         4,990,500.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        3,491,448.68
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                            3,000.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          350,000.00



4. Total liabilities ...........................................................................................................................................................................        3,844,448.68
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                                Case 2:23-bk-00373-FMD                 Doc 1      Filed 04/02/23            Page 6 of 32

      Fill in this information to identify the case:

                    H2O Investment Properties LLC
      Debtor name __________________________________________________________________

                                              Middle District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Brilliant Homes LLC                                                Monies Loaned /
1    4035 SE 52ND AVE STE A                                             Advanced
     Portland, OR, 97206
                                                                                                                                                     350,000.00


     Clackamas County Tax Collector                                     Taxes & Other
2    Real Estate taxes                                                  Government Units
     2051 Kaen Rd
                                                                                                                                                     3,000.00
     Oregon City, OR, 97045

     Clackamas County Service District                                  Taxes & Other
3    Water / Sewer Dept                                                 Government Units
     150 Beavercreek Road #430
                                                                                                                                                     0.00
     Oregon City, OR, 97045



4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                             Case 2:23-bk-00373-FMD                  Doc 1     Filed 04/02/23              Page 7 of 32

                  H2O Investment Properties LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
                                Case 2:23-bk-00373-FMD                 Doc 1       Filed 04/02/23            Page 8 of 32
  Fill in this information to identify the case:

               H2O Investment Properties LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Middle District of Florida
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Wells Fargo #0771
    3.1. _________________________________________________  Checking
                                                           ______________________              0
                                                                                               ____    7
                                                                                                      ____    7
                                                                                                             ____   1
                                                                                                                    ____         $______________________
                                                                                                                                   500.00
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 500.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
                               Case 2:23-bk-00373-FMD                    Doc 1        Filed 04/02/23                 Page 9 of 32
Debtor           H2O Investment Properties LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                  $______________________
    8.2.___________________________________________________________________________________________________________                  $_______________________

9. Total of Part 2.
                                                                                                                                    $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                     Current value of debtor’s
                                                                                                                                     interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                   $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                   $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                    $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method            Current value of debtor’s
                                                                                                         used for current value      interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________      $________________________
    14.2. ________________________________________________________________________________               _____________________      $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________      $________________________
    15.2._______________________________________________________________            ________%            _____________________      $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________     $_______________________
    16.2.________________________________________________________________________________                ______________________     $_______________________



17. Total of Part 4
                                                                                                                                    $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                            Case 2:23-bk-00373-FMD                        Doc 1        Filed 04/02/23             Page 10 of 32
                   H2O Investment Properties LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
                           Case 2:23-bk-00373-FMD                        Doc 1         Filed 04/02/23         Page 11 of 32
                H2O Investment Properties LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________     ____________________      $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                            $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
                           Case 2:23-bk-00373-FMD                       Doc 1    Filed 04/02/23         Page 12 of 32
                 H2O Investment Properties LLC
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________      ____________________       $______________________

    48.2__________________________________________________________          $________________      ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________      ____________________       $______________________

    49.2__________________________________________________________          $________________      ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________          $________________      ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                              Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                            Doc 1        Filed 04/02/23          Page 13 of 32
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       909 SW Schaeffer Rd, West Linn, OR 97068                100% Fee Simple
55.1
                                                                                      2.00                 comps                         3,590,000.00
                                                                                     $_______________      ____________________        $_____________________
       30620 Rose Lane, Wilsonville, OR 97070                 100% Fee Simple
55.2
                                                                                      800.00               comps                         1,400,000.00
                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     4,990,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
       
       ✔    Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
                              Case 2:23-bk-00373-FMD                   Doc 1       Filed 04/02/23               Page 14 of 32
Debtor            H2O Investment Properties LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
                                Case 2:23-bk-00373-FMD                                  Doc 1           Filed 04/02/23                 Page 15 of 32
                   H2O Investment Properties LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         500.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               4,990,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         500.00                                4,990,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  4,990,500.00                                                                                     4,990,500.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                                 Case 2:23-bk-00373-FMD                             Doc 1       Filed 04/02/23               Page 16 of 32
  Fill in this information to identify the case:
              H2O Investment Properties LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Middle District of Florida

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
  Official Form 206D
  Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                               12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Arbor Village Homeowners Assoc                              30620 Rose Lane, Wilsonville, OR 97070
      __________________________________________                                                                                   13,236.11
                                                                                                                                 $__________________          1,400,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      13106 SE 240th St Ste 200
      ________________________________________________________
      Kent, WA 98031
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Judgment,   16CV39986
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            01/30/2018
                                     __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
    ✔
       Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
    Arbor Village Homeowners Assoc,                                 Contingent
    1st; City of Oregon City, 1st; City of                          Unliquidated
    Oregon City, 1st; Deem Realty                                   Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Citadel Servicing Corp
                                                                 909 SW Schaeffer Rd, West Linn, OR                              $__________________
                                                                                                                                  1,344,814.00              $_________________
                                                                                                                                                             3,590,000.00
      __________________________________________                 97068
     Creditor’s mailing address
      3220 El-Camino Real
      ________________________________________________________
      Irvine, CA 92602
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             09/24/2018
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   0445
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                    No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
    Jennifer Sirrine, 1st; Oregon State                          Check all that apply.
    Credit Union, 1st; Citadel                                      Contingent
    Servicing Corp,
        Yes. The      1st;
                  relative    Umpqua
                           priority of creditors is                 Unliquidated
                   specified on lines _____                         Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    3,491,448.68
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          9
                                                                                                                                                              page 1 of ___
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                   Doc 1       Filed 04/02/23               Page 17 of 32
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     City of Oregon City
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  14,601.00
                                                                                                                                $__________________      1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     625 Center Street
     ________________________________________________________

     Oregon City, OR 97045
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     01/12/2021                 Describe the lien
    Last 4 digits of account                                     Judgment, CE-000554-20
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ■
               Yes. The relative priority of creditors is          Unliquidated
                                        2.1
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     City of Oregon City
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  72,026.00
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      625 Center Street
     ________________________________________________________

      Oregon City, OR 97045
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            12/11/2019
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Judgment, CE-000520-19
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
     No                                                           Yes

    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ✔   Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____
                                       2.1                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                   Doc 1       Filed 04/02/23               Page 18 of 32
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Deem Realty Funding Inc
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  20,710.08
                                                                                                                                $__________________      1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     11623 Zingelmann Rd
     ________________________________________________________

     Galveston, TX 77554
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     08/20/2020                 Describe the lien
    Last 4 digits of account                                     Judgment, 20CV28888
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ■
               Yes. The relative priority of creditors is          Unliquidated
                                        2.1
                   specified on lines _____                        Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Deem Realty Funding Inc.
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  49,424.96
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      11623 Zingelmann Rd
     ________________________________________________________

      Galveston, TX 77554
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            08/20/2020
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Judgment, 20CV28888
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
     No                                                           Yes

    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ✔   Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____
                                       2.1                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 3 of ___
                                                                                                                                                                       9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                   Doc 1       Filed 04/02/23               Page 19 of 32
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     DJ Property Solutions, LLC
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  69,899.96
                                                                                                                                $__________________      1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     1609 Blue Quail Lane
     ________________________________________________________

     College Station, TX 77845
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     08/20/2020                 Describe the lien
    Last 4 digits of account                                     Judgment, 20CV28888
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ■
               Yes. The relative priority of creditors is          Unliquidated
                                        2.1
                   specified on lines _____                        Disputed


2.__
  8 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Gretchen Pan & Zianghua "Ed" Pan
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  6,305.00
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      c/o Troy G. Sexton, Esq.
     ________________________________________________________

      117 SW Taylor, Ste 300, Portland, OR 97204
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            04/04/2017
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Judgment, 17CV14077
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
     No                                                           Yes

    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ✔   Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____
                                       2.1                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 4 of ___
                                                                                                                                                                       9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                    Doc 1       Filed 04/02/23               Page 20 of 32
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Jennifer Sirrine
                                                                 909 SW Schaeffer Rd, West Linn, OR
      __________________________________________                 97068                                                            5,202.00
                                                                                                                                 $__________________      3,590,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     08/12/2022                  Describe the lien
     Last 4 digits of account                                     Judgment, 2022-045074
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
           
           ■
               Yes. The relative priority of creditors is           Unliquidated
                                        2.2
                   specified on lines _____                         Disputed


2.__
  10 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Loan Processing Servicing Corp
                                                                 909 SW Schaeffer Rd, West Linn, OR
                                                                 97068
      __________________________________________                                                                                  197,594.29
                                                                                                                                 $__________________       3,590,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


       19528 Ventura Blvd , #502
      ________________________________________________________

       Tarzana, CA 91356
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           11/23/2016
                                     __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   Judgment, 2020-013702
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔   No
      No                                                           Yes

     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
           
           ✔   Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____
                                       2.2                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  5 of ___
                                                                                                                                                                        9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                   Doc 1       Filed 04/02/23               Page 21 of 32
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  11 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Oregon State Credit Union
                                                                909 SW Schaeffer Rd, West Linn, OR
     __________________________________________                 97068                                                            28,163.28
                                                                                                                                $__________________      3,590,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     PO Box 306
     ________________________________________________________

     Corvallis, OR 97339
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     10/30/2020                 Describe the lien
    Last 4 digits of account                                     Judgment, 20CV07052
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ■
               Yes. The relative priority of creditors is          Unliquidated
                                        2.2
                   specified on lines _____                        Disputed


2.__
  12 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Planet Home Lending
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  365,000.00
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      321 Research Pkwy #303
     ________________________________________________________

      Meriden, CT 06450
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   3404
                             _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
     No                                                           Yes

    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ✔   Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____
                                       2.1                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 6 of ___
                                                                                                                                                                       9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
                                                                                   Doc 1       Filed 04/02/23               Page 22 of 32
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  13 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Quality Loan Service Corp of Washington
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  150,000.00
                                                                                                                                $__________________      1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     108 1st Ave S, Seattle
     ________________________________________________________

     Seattle, WA 98104
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________
                                     02/01/2007                 Describe the lien
    Last 4 digits of account                                     Judgment, 2022-060197
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ■
               Yes. The relative priority of creditors is          Unliquidated
                                        2.1
                   specified on lines _____                     
                                                                ✔   Disputed


2.__
  14 Creditor’s name                                            Describe debtor’s property that is subject to a lien
      Shell Point Mortgage Services
                                                                30620 Rose Lane, Wilsonville, OR 97070
     __________________________________________                                                                                  1,051,600.00
                                                                                                                                $__________________       1,400,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      2100 E Elliot Rd, Ste A
     ________________________________________________________

      Tempe , AZ 85284
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   1917
                             _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
     No                                                           Yes

    
    ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
           
           ✔   Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____
                                       2.1                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 7 of ___
                                                                                                                                                                       9
                                  Case 2:23-bk-00373-FMD
                   H2O Investment Properties LLC
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  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  15 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      Umpqua Bank
                                                                 909 SW Schaeffer Rd, West Linn, OR
      __________________________________________                 97068                                                            102,872.00
                                                                                                                                 $__________________      3,590,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

      707 West Main St
      ________________________________________________________

      PO Box 2224, Spokane , WA 99201
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     02/15/2019                  Describe the lien
     Last 4 digits of account                                     Judgment, 2019-008010
                                                                  __________________________________________________
     number                   _________________
                              3124
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
           
           ■
               Yes. The relative priority of creditors is           Unliquidated
                                        2.2
                   specified on lines _____                         Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  8 of ___
                                                                                                                                                                        9
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Debtor
               H2O Investment Properties LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Citadel Servicing Corp
     15707 Rockfield Blvd, Ste 320
     Irvine, CA, 92618                                                                                                 2
                                                                                                               Line 2. __                    _________________


     Greenspoon Marder LLP
     c/o Trustee Corps
     17100 Gillette Avenue                                                                                             2
                                                                                                               Line 2. __                    _________________
     Irvine, CA, 92614
     Trustee Corps
     606 W. Gowe Street
     Kent, WA, 98032                                                                                                   2
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      9 of ___
                                                                                                                                                           9
                               Case 2:23-bk-00373-FMD                    Doc 1        Filed 04/02/23          Page 25 of 32
   Fill in this information to identify the case:

   Debtor
                    H2O Investment Properties LLC
                    __________________________________________________________________

                                           Middle District of Florida
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Clackamas County Service District                                                                                               $_________________
                                                            Check all that apply.
    Water / Sewer Dept                                         Contingent
    150 Beavercreek Road #430                                  Unliquidated
    Oregon City, OR, 97045                                     Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Clackamas County Tax Collector                          As of the petition filing date, the claim is: $______________________
                                                                                                            3,000.00                $_________________
                                                            Check all that apply.
    Real Estate taxes
    2051 Kaen Rd                                               Contingent
    Oregon City, OR, 97045                                     Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________   $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               3
                                                                                                                                         page 1 of ___
                           Case 2:23-bk-00373-FMD
               H2O Investment Properties LLC                           Doc 1           Filed 04/02/23            Page 26 of 32
  Debtor       _______________________________________________________                              Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Brilliant Homes LLC                                                                                                       350,000.00
                                                                                                                            $________________________________
                                                                              Contingent
    4035 SE 52ND AVE STE A                                                    Unliquidated
    Portland, OR, 97206                                                       Disputed
                                                                                                   Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            2022
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
                                                                                                                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________             No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________             No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________             No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________            No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __    3
                                                                                                                                                          2 of ___
                             Case 2:23-bk-00373-FMD
               H2O Investment Properties LLC                      Doc 1       Filed 04/02/23           Page 27 of 32
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    3,000.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       350,000.00
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          353,000.00
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    3
                                                                                                                                                3 of ___
                            Case 2:23-bk-00373-FMD                      Doc 1        Filed 04/02/23            Page 28 of 32

 Fill in this information to identify the case:

             H2O Investment Properties LLC
 Debtor name __________________________________________________________________

                                         Middle District of Florida
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Office lease                                      Naples Business Suites LLC
         State what the contract or    Lessee                                            Concierge Executive Offices
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         999 Vanderbilt Beach Road, Ste 200
                                                                                         34018
         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
                            Case 2:23-bk-00373-FMD                       Doc 1        Filed 04/02/23             Page 29 of 32
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             H2O Investment Properties LLC

                                         Middle District of Florida
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
H2O Investment Properties LLC                                                   11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Ronald Glen Sapp                                            50
 1701 SE Oak Shore Lane, Portland, OR 97267




 Michelle Anne Baron                                         50                      Common stockholder
 17600 Pacific Hwy Unit 338, Marylhurst, OR 97036
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                             United States Bankruptcy Court
                             Middle District of Florida




         H2O Investment Properties LLC
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/02/2023                         /s/ Ronald G. Sapp
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                 Manager
                                                 Position or relationship to debtor
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Arbor Village Homeowners Assoc                Jennifer Sirrine
13106 SE 240th St Ste 200
Kent, WA 98031
                                              Loan Processing Servicing Corp
                                              19528 Ventura Blvd , #502
Brilliant Homes LLC                           Tarzana, CA 91356
4035 SE 52ND AVE STE A
Portland, OR 97206
                                              Naples Business Suites LLC
                                              Concierge Executive Offices
Citadel Servicing Corp                        999 Vanderbilt Beach Road, Ste 200
3220 El-Camino Real
Irvine, CA 92602
                                              Oregon State Credit Union
                                              PO Box 306
Citadel Servicing Corp                        Corvallis, OR 97339
15707 Rockfield Blvd, Ste 320
Irvine, CA 92618
                                              Planet Home Lending
                                              321 Research Pkwy #303
City of Oregon City                           Meriden, CT 06450
625 Center Street
Oregon City, OR 97045
                                              Quality Loan Service Corp of Washington
                                              108 1st Ave S, Seattle
Clackamas County Service District             Seattle, WA 98104
Water / Sewer Dept
150 Beavercreek Road #430
Oregon City, OR 97045                         Shell Point Mortgage Services
                                              2100 E Elliot Rd, Ste A
                                              Tempe , AZ 85284
Clackamas County Tax Collector
Real Estate taxes
2051 Kaen Rd                                  Trustee Corps
Oregon City, OR 97045                         606 W. Gowe Street
                                              Kent, WA 98032

Deem Realty Funding Inc
11623 Zingelmann Rd                           Umpqua Bank
Galveston, TX 77554                           707 West Main St
                                              PO Box 2224
                                              Spokane , WA 99201
Deem Realty Funding Inc.
11623 Zingelmann Rd
Galveston, TX 77554


DJ Property Solutions, LLC
1609 Blue Quail Lane
College Station, TX 77845


Greenspoon Marder LLP
c/o Trustee Corps
17100 Gillette Avenue
Irvine, CA 92614


Gretchen Pan & Zianghua "Ed" Pan
c/o Troy G. Sexton, Esq.
117 SW Taylor, Ste 300
Portland, OR 97204
